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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
                                                          :
NIKE, INC. and CONVERSE INC.,                             :
                                                          :
                           Plaintiffs,                    :
                                                          : No. 2013 Civ. 8012
         -against-                                        :
                                                          : ORAL ARGUMENT REQUESTED
MARIA WU d/b/a
                                                          :
WWW.SHOECAPSXYZ.COM, et al.,
                                                          :
                           Defendants.                    :
                                                          :
----------------------------------------------------------x


 NOTICE OF CROSS MOTION TO COMPEL THE PRODUCTION OF DOCUMENTS
                  FROM NON-PARTY CHINESE BANKS

       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law, the

supporting Declaration of Robert L. Weigel and the exhibits attached thereto; the Declaration of

Alexandra Grossbaum and the exhibits attached thereto; the Declaration of Lauren Nagin and the

exhibits attached thereto; and the Declaration of Donald Clarke and the exhibits attached thereto,

assignee Next Investments, LLC (“Next”), by and through its undersigned counsel, will move

this Court, before the Honorable Colleen McMahon, at the Daniel Patrick Moynihan United

States Courthouse, 500 Pearl Street, New York, New York 10007-1312, at a time and date to be

determined by the Court for an order (1) compelling the production of documents from non-

parties Agricultural Bank of China, Bank of China, Bank of Communications, China

Construction Bank, China Merchants Bank and Industrial and Commercial Bank of China

pursuant to the subpoenas served on them by Next on November 30, 2017 and (2) granting such

other and further relief as the Court may deem just and proper.
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